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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION



ARNOLD T. BACON                                                                        PLAINTIFF

                               NO. 5:16-CV-5334

FABER AND BRAND, LLC.                                                               DEFENDANT


                               CLERK'S ORDER OF DISMISSAL


   On this 28th day of March, 2017, the parties hereto having

filed a stipulation for dismissal pursuant to Rule 41 (a), Federal Rules of Civil Procedure,

   IT IS ORDERED that plaintiff's complaint be, and hereby is dismissed with prejudice.


                              AT THE DIRECTION OF THE COURT

                              DOUGLAS F. YOUNG, CLERK


                               BY: /s/ R. Guerrero
                                           Deputy Clerk
